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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA

   PILOT, United States Coast Guard, et        )
   al., for themselves and all others          )
   similarly situated,                         )
                                               )
                        Plaintiffs,            )       No. 8:22-cv-1278-SDM-TGW
   v.                                          )
                                               )
   LLOYD AUSTIN, in his official               )
   capacity as Secretary of the United         )
   States Department of Defense, et al.,       )
                                               )
                        Defendants.            )


   PLAINTIFFS’ RENEWED MOTION TO CERTIFY CLASS UNDER RULE 23

         Plaintiffs, pursuant to Fed. R. Civ. P. 23 and Local Rule 3.01, renew their

  Motion (Doc. 35) to Certify Class Under Rule 23, as requested in their Third Amended

  Verified Class Action Complaint (Doc. 198) and as supplementally defined herein. For

  the reasons set forth below, Plaintiffs’ motion should be granted and the class certified.

  In the alternative, Plaintiffs renew their request that the Court provisionally certify the

  class for purposes of granting preliminary injunctive relief.

                            RESTATED PROPOSED CLASS

         Plaintiffs propose a class of United States Coast Guard servicemembers in line

  with the class certified by this Court in Colonel Financial Management Officer v. Austin,

  No. 8:22-cv-1275-SDM-TGW, 2022 WL 3643512 (M.D. Fla. Aug. 18, 2022).

  Specifically, Plaintiffs propose that the Court certify the following class:

         All persons on active duty or in reserve (1) who serve under the command
         of the [Coast Guard], (2) who were affirmed by a chaplain as harboring
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         a sincere religious objection, (3) who timely submitted an initial request
         for a religious accommodation, (4) who were denied the initial request,
         (5) who timely appealed the denial of the initial request, and (6) who were
         denied or will be denied after appeal.

  2022 WL 3643512, at *19.

                                        ARGUMENT

         As was the case in Colonel Financial Management Officer with respect to the

  Marine Corps class certified there, “[c]onstrued with the benefit of several hearings,”

  Plaintiffs’ motion here pursues

         certification of a class comprising religiously objecting [Coast Guard
         members] who received a chaplain’s affirmation of sincerity, who applied
         for a religious accommodation from COVID-19 vaccination, who were
         denied an accommodation, and who timely appealed the denial, and who
         were or will be denied with finality after appeal and ordered to accept
         COVID-19 vaccination.

  Col. Financial Mgmt. Officer, 2022 WL 3643512, at *9. In fact, the only substantive

  difference between the Marine Corps class the Court previously certified and the Coast

  Guard class Plaintiffs seek to certify here is the branch of service at issue. All material

  facts that were true of the Marines in the prior certification are equally true here, and

  the Coast Guard class should be certified in the same manner.

  I.     PLAINTIFFS’ PROPOSED CLASS IS ASCERTAINABLE.

         As the Court observed previously, “[a]lthough the identification of a [Coast

  Guardsman] harboring a sincere religious objection to COVID-19 vaccination might

  present difficulties in other instances . . . the record in this action presents an objective

  method of ascertainment.” Col. Financial Mgmt. Officer, 2022 WL 3643512, at *11.

  Here, Defendants’ sworn testimony before the Court demonstrates the Proposed Class


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  is ascertainable, just as it was in the Marines. (See Doc. 202-1, Declaration of Rear

  Admiral Eric Jones, ¶¶ 29–36 (stating that the process involves a request for an

  accommodation, a chaplain’s interview and sincerity determination, a process for

  appeal, and a process for administrative review of the appeal).) Thus, as was true in

  the Marine Corps, the Proposed Class of Coast Guard servicemembers is readily

  ascertainable by those who complied with the process outlined by Defendants in Rear

  Admiral Jones’s Declaration.

        Additionally, as was equally true with the Marine Corps, “most of the plaintiffs

  have received the final denial of an appeal and the accompanying order to accept

  COVID-19 vaccination and thus are readily ascertainable as class representatives.”

  Col. Fin. Mgmt. Officer, 2022 WL 3643512, at *11. Indeed, with respect to Plaintiff

  Lieutenant 2 (domiciled in Clearwater, Florida), the Coast Guard determined that her

  vaccination objection was based on sincerely held religious beliefs, denied her religious

  accommodation request, and denied her appeal. (Doc. 198, ¶ 26.) The Coast guard

  subsequently ordered her to accept COVID-19 vaccination or face separation. (Id.).

  Similarly, with respect to Plaintiff Avionics Electrical Technician 1 (also domiciled in

  Clearwater, Florida) the Coast Guard determined his religious objection sincere,

  denied his request for religious accommodation, denied his appeal, and ordered him

  to be COVID-19 vaccinated or face separation. (Doc. 198, ¶ 27.) Plaintiff Marine

  Science Technician 3 (domiciled in St. Petersburg, Florida) faces the same situation.

  (Doc. 198, ¶ 28.) Among the other Coast Guard members appearing before the Court,




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  these Plaintiffs clearly represent the Proposed Class of Coast Guard members with

  virtually identical claims and are readily ascertainable by this Court.

  II.      PLAINTIFFS SATISFY THE REQUIREMENTS OF RULE 23(a).

           A.    Plaintiffs’ Proposed Class Satisfies Numerosity.

           In the Eleventh Circuit, “while there is no fixed numerosity rule, generally less

  than twenty-one is inadequate, more than forty adequate, with numbers between

  varying according to other factors.” Cox v. Am. Cast Iron Pipe Co., 784 F.2d 1546, 1553

  (11th Cir. 1986) (cleaned up); see also Vega v. T-Mobile USA, Inc., 564 F.3d 1256, 1267

  (11th Cir. 2009) (same). “Rule 23(a)(1) imposes a ‘generally low hurdle,’ and ‘a

  plaintiff need not show the precise number of members in the class.’” Muzuco v.

  Re$ubmitIt, LLC, 297 F.R.D. 504 (S.D. Fla. 2013) (quoting Vega, 564 F.3d at 1267);

  Barlow v. Marion Cnty. Hosp. Dist., 88 F.R.D. 619, 625 (M.D. Fla. 1980) (same). And,

  in determining whether Plaintiffs have shown sufficient numerosity to merit class

  certification, the Court may “make common sense assumptions in order to find

  support for numerosity.” Khuen v. Cadle Co., Inc., 245 F.R.D. 545, 550 (M.D. Fla.

  2007).

           Here, based on the sworn testimony submitted to the Court by the Government,

  there is an ascertainable class of approximately 1,308. (See Doc. 73-6 at 4.) And, even

  at the time—many months ago—when Defendants submitted the information, every

  denial of a request for religious accommodation followed a determination of sincerity

  by the chaplain. (Id. (noting that, at the time, 578 requests had been denied and that

  all followed a determination of sincerity by the chaplain).) And the Coast Guard


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  readily admits to this Court that “most Plaintiffs’ requests for religious exemptions and

  appeals have been denied.” (Doc. 202, at 17 (emphasis added).) By their own

  admission, then, “the [Coast Guard] has denied with finality hundreds of appeals from

  religiously objecting [Coast Guardsmen]; thus, the class is sufficiently numerous.” Col.

  Fin. Mgmt. Officer, 2022 WL 3643512, at *11.

         B.     Plaintiffs’ Proposed Class Satisfied Commonality.

         To satisfy the requirement of “commonality,” the class “claims must depend

  upon a common contention” that is “of such a nature it is capable of classwide

  resolution—which means that the determination of its truth or falsity will resolve an

  issue central to the validity of each one of the claims in one stroke.” Wal-Mart Stores,

  Inc. v. Dukes, 564 U.S. 338, 350 (2011). One of the ways commonality is generally

  demonstrated is by showing—as here—that defendants “‘operated under a general

  policy of discrimination.’” Id. at 353 (quoting Gen. Tele. Co. of Sw. v. Falcon, 347 U.S.

  147, 159 n.15 (1982)). Indeed, “[a]n alleged policy or practice of treating an entire class

  unlawfully satisfies the commonality requirement of Rule 23(a)(2).” Herman v.

  Seaworld Parks & Entm’t, Inc., 320 F.R.D. 271, 290 (M.D. Fla. 2017); see also Palm Beach

  Golf Center-Boca, Inc. v. Sarris, 311 F.R.D. 688, 695 (S.D. Fla. 2015) (“Generally, the

  commonality requirement is met if the allegations involve a common course of

  conduct by the defendants.”); Fabricant v. Sears Roebuck, 202 F.R.D. 310, 313 (S.D.

  Fla. 2001) (same).




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         In general,

         What matters to class certification is not the raising of common
         questions—even in droves—but rather, the capacity of a classwide
         proceeding to generate common answers apt to drive the resolution of the
         litigation. Dissimilarities within the proposed class are what have the
         potential to impede the generation of common answers.

  Wal-Mart, 564 U.S. at 350 (cleaned up).

         This Court’s previous observations regarding the Marine Corps class applies

  equally here:

         The record presents two questions common to the class: (1) does the
         uniform denial of requests for a religious accommodation and other
         evidence reveal a policy-in-fact of denying all religious accommodations
         except for the rare [Coast Guardsman] both electing to, and eligible to,
         retire (and, perhaps, excepting a smattering of other trivial instances) and
         (2) does the analysis—uniformly applied to every applicant—used by the
         [Coast Guard] fail to conform to the analysis required by RFRA? If the
         answer to either question is “yes,” the [Coast Guard] has failed to
         discharge the burden that RFRA demands and cannot impose the
         COVID-19 vaccination requirement against the class.

  Col. Fin. Mgmt. Officer, 2022 WL 3643512, at *11. Here, the record presents the same

  questions, with the same unlawful answers, and represents a common question of law

  and fact with respect to the Proposed Class of Coast Guard members. (See Doc. 198,

  ¶¶ 177–216 & Prayer for Relief, ¶¶ A–B.)

         C.       Plaintiffs’ Proposed Class Satisfies Typicality.

         “Typicality requires that there be a sufficient nexus between the legal claims of

  the named class representatives and those of individual class members to warrant class

  certification.” Physicians Healthsource, Inc. v. Doctor Diabetic Supply, LLC, No. 12-22330-

  Civ, 2014 WL 7366255, at *6 (S.D. Fla. Dec. 24, 2014) (cleaned up) (quoting Ault v.



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  Walt Disney World Co., 692 F.3d 1212, 1216 (11th Cir. 2012)); see also Busby v. JRHBW

  Realty, Inc., 513 F.3d 1314, 1322 (11th Cir. 2008) (same). Put simply, the typicality

  requirement is satisfied if the class representatives “have the same interest and suffer

  the same injury as the class members.” Herman, 320 F.R.D. at 293 (citing Busby, 513

  F.3d at 1322). “The typicality requirement, much like the commonality requirement,

  does not require that the claims of the proposed class representative and the proposed

  class be identical.” Id. Rather, typicality merely requires that the claims of the class

  representatives and the class “arise from the same event or pattern or practice and are

  based on the same legal theory.” Kornberg v. Carnival Cruise Lines, Inc., 741 F.2d 1332,

  1337 (11th Cir. 1984); see also Agan v. Katzman & Korr, P.A., 222 F.R.D. 692, 698 (S.D.

  Fla. 2004) (same). Thus, “[a] factual variation will not render a class representative's

  claim atypical unless the factual position of the representative markedly differs from

  that of other members of the class.” Kornberg, 741 F.2d at 1337. In fact, “a strong

  similarity of legal theories will satisfy the typicality requirement despite substantial

  factual differences.” Prado-Steiman ex rel. Prado v. Bush, 221 F.3d 1266, 1279 n.14 (11th

  Cir. 2000).

         Here, Plaintiffs comprise a group of Coast Guard members who have submitted

  requests for accommodation for their religious beliefs, been issued a determination of

  sincerity, and been denied. (See, e.g., Doc. 198, ¶¶ 24–29.) And they all face separation

  for their religious objections. (Id.). Thus,

          [w]ith respect to the particular issue of the [Coast Guard’s] failure to
          conduct the analysis required by RFRA, the named plaintiffs are typical:
          each has applied for a religious accommodation and has appealed or will

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         appeal the denial of a religious accommodation, and each has received
         or is likely to imminently receive, a denial.

  Col. Fin. Mgmt. Officer, 2022 WL 3643512, at *12. Plaintiffs satisfy the typicality

  requirement of Rule 23(a).

         D.     Named Plaintiffs Satisfy Adequacy of Representation of the Proposed
                Class.

                1.     Named Plaintiffs have no substantial conflict and will
                       vigorously prosecute the action.

         The adequacy of the representation is typically analyzed under two separate

  factors: (1) whether any substantial conflict of interest exists between the representative

  and the class, and (2) whether the representative will adequately prosecute the action.

  See, e.g., Sosna v. Iowa, 419 U.S. 393, 403 (1975); see also Herman v. Seaworld Parks &

  Entm’t, Inc., 320 F.R.D. 271, 294 (M.D. Fla. 2017). Plaintiffs should be deemed

  adequate to represent the members of the class because there are no conflicts in the

  pursuit of their respective claims, and Plaintiffs have adequate “incentives to pursue

  the rights of the class vigorously.” Physicians Healthsource, 2014 WL 7366255, at *6.

         Plaintiffs’ claims are identical to those of the putative class members whose

  requests for religious accommodation from the COVID-19 vaccine mandate have been

  denied. (See Doc. 198, ¶¶ 25–29, 90–97, 139–148.) Three of the named Plaintiffs,

  individually, are properly venued in this Court, having established their domiciles in

  Florida counties of the Tampa Division. (Doc. 198, ¶¶ 26–28.) Plaintiffs Lieutenant 2,

  Avionics Electrical Technician 1, and Marine Science Technician 3 have all received

  final denials of their religious accommodation appeal and await imminent and



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  inevitable separation or other retaliatory consequences for failing to accept COVID-19

  vaccination. (Doc. 198, ¶¶ 26–28.) All other Proposed Class members face the same

  consequences. (Doc. 198, ¶¶ 139–148.) Thus, Plaintiffs include Coast Guard members

  who are properly venued in this Court and have ripe claims. (Doc. 40 at 30 (concluding

  “‘ripeness’ can occur no later than the moment the member must irreparably receive

  the injection or irreparably defy an order” (emphasis added)).)

         There is no conflict between Plaintiffs and the putative class members because

  all class members are seeking the same relief—an injunction prohibiting their

  immediate discipline and removal from the Coast Guard for failure to accept a vaccine

  that violates their sincerely held religious beliefs. As this Court previously concluded,

  regarding the Marine Corps class, “[t]he plaintiffs lack a substantial conflict of interest

  with the rest of the class and the record shows the plaintiffs’ ability and willingness to

  resolutely prosecute this action.” Col. Fin. Mgmt. Officer, 2022 WL 3643512, at *13; see

  also U.S. Navy SEALS 1–26 v. Austin, No. 4:21-cv-1236-O, 2022 WL 1025144, at *8

  (N.D. Tex. Mar. 28, 2022) (“The potential class members, then, are those who seek to

  remain in the Navy and refuse to compromise their religious beliefs (i.e., continue to

  forgo the vaccine). That group is intently interested in the relief the Named Plaintiffs

  seek, especially as the Navy begins to involuntarily separate unvaccinated sailors.”).

  The same goes for Plaintiffs here—they seek the same relief from the same mandate to

  accept COVID-19 vaccination in violation of their similar sincerely held religious

  beliefs, and “nothing in the record suggest the inadequacy of any of the class




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   representatives to pursue the claim that unified the class,” Col. Fin. Mgmt. Officer, 2022

   WL 3643512, at *13. The Proposed Class should be certified.

                 2.     Plaintiffs’ counsel will adequately represent the class.

          Under Rule 23, “[t]he adequacy of representation requirement includes not only

   the likelihood that the representative parties will adequately pursue the claims and

   interests of the class but also the adequacy of legal counsel representing the named

   plaintiffs.” Barlow v. Marion Cnty. Hosp. Dist., 88 F.R.D. 619, 628 (M.D. Fla. 1980).

   Plaintiffs’ counsel will adequately represent the interests of the class.

          In assessing the adequacy of class counsel, courts “must consider (i) the
          work counsel has done in identifying or investigating potential claims in
          the action; (ii) counsel’s experience in handling class actions, other
          complex litigation, and the types of claims asserted in the action; (iii)
          counsel’s knowledge of the applicable law; and (iv) the resources that
          counsel will commit to representing the class.”

   Physicians Healthsource, Inc. v. Doctor Diabetic Supply, LLC, No. 12-22330-CIV, 2014 WL

   7366255, at *6 (S.D. Fla. Dec. 24, 2014) (quoting Fed. R. Civ. P. 23(g)). “Counsel will

   be deemed adequate if they are shown to be qualified, adequately financed, and

   possess sufficient experience in the subject matter of the class action.” City of St.

   Petersburg v. Total Containment, Inc., 265 F.R.D. 630, 651 (S.D. Fla. 2010). As this Court

   has similarly explained, class counsel provide adequate representation when they “‘are

   qualified, experienced, and generally able to conduct the proposed litigation.’” Spinelli

   v. Capital One Bank, 265 F.R.D. 598, 602 (M.D. Fla. 2009) (quoting Pop’s Pancakes, Inc.

   v. NuCo2, 251 F.R.D. 677, 683 (S.D. Fla. 2008)); see also Griffin v. Carlin, 755 F.2d 1516,

   1533 (11th Cir. 1985) (same).



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          Plaintiffs’ counsel in the instant action are the same counsel representing the

   certified class in Colonel Financial Management Officer, where the Court found them to

   be adequate representatives of the Marine Corps class. Col. Fin. Mgmt. Officer, 2022 WL

   3643512, at *13. The Court found:

          The plaintiffs’ lawyers—Mathew D. Staver, Roger K. Gannam, Daniel
          J. Schmid, Horatio G. Mihet, and Richard L. Mast, Jr.,—are able,
          experienced, and successful constitutional and civil rights litigators.
          Mihet declares (Doc. 35-1) that the lawyers’ experience includes
          representing plaintiffs who allege violation of religious liberties,
          advocating for citizens who harbor a religious objection to the COVID-19
          vaccine, and managing class and other complex litigation. As
          demonstrated by the record, the plaintiffs’ lawyers have dedicated
          substantial resources to identifying and investigating claims on behalf of
          the class.

   Id. Thus, Plaintiffs have counsel who will adequately represent the Proposed Class.

   III.   PLAINTIFFS SATISFY THE REQUIREMENTS OF RULE 23(b).

          As the Court appropriately noted,

          The traditional vehicle to vindicate the widespread deprivation of civil
          rights, including the deprivation of Free Exercise, Rule 23(b)(2) permits
          the maintenance of a class action “if . . . the party opposing the class has
          acted or refused to act on grounds applying throughout the class, so that
          final injunctive relief or corresponding declaratory relief is appropriate
          respecting the class as a whole.”

   Col. Fin. Mgmt. Officer, 2022 WL 3643512, at *9. This is certainly true here. Indeed, as

   the Coast Guard already admits on the record “most Plaintiffs’ requests for religious

   exemptions and appeals have been denied.” (Doc. 202 at 17 (emphasis added); see also

   Doc. 198, ¶ 28 (noting the Coast Guard has informed “all commands” that they “must

   initiate separation for all unvaccinated Coast Guard servicemembers by August 24,

   2022”).)


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         A.      The Coast Guard’s Refusal to Act Applies Generally to the Proposed
                 Class Such That Final Injunctive Relief Is Appropriate to the Class as
                 a Whole.

         Under Rule 23(b)(2), Plaintiffs can maintain a class action because the Coast

   Guard has “acted or refused to act on grounds that apply generally to the class, so that

   final injunctive relief or corresponding declaratory relief is appropriate respecting the

   class as a whole.” Fed. R. Civ. P. 23(b)(2). The claims of the class are perfectly suited

   for Rule 23(b)(2) certification because that section “was intended primarily to facilitate

   civil rights class actions, where the class representatives typically sought broad

   injunctive relief against discriminatory practices.” Holmes v Continental Can Co., 706

   F2d 1144, 1155 (11th Cir. 1983). As this Court recognizes, Rule 23(b)(2) “has been

   liberally applied in the area of civil rights,” Col. Fin. Mgmt. Officer, 2022 WL 3643512,

   at *9 (quoting Bumgarner v. NCDOC, 276 F.R.D. 452, 457 (E.D.N.C. 2011)), and it

   should be so applied here. Certification under Rule 23(b)(2) is appropriate where—as

   here—“the complaint alleges a pattern of activity adverse to the class as a whole” and

   “[t]he nature of the relief sought is primarily declaratory and injunctive.” Barlow v.

   Marian Cnty. Hosp. Dist., 88 F.R.D. 619, 628 (M.D. Fla. 1980).

         Here,

         [P]laintiffs contend that the record reveals in the [Coast Guard] a
         systemic failure—in violation of RFRA—to conduct an individualized
         assessment of each sincerely objecting [Coast Guardsman], to consider
         the suitability of a compromise accommodation, and to consider the
         feasibility of relaxing for each applicant the requirement of deployability.
         In other words, the plaintiffs challenge not the correctness of the legal or
         factual sufficiency of any particular denial but challenge both the
         common but allegedly deficient process on which the [Coast Guard]
         relies in denying the requests uniformly and en masse and the allegedly


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         inflexible, conclusory, vague, and overbroad rationalizations used by the
         [Coast Guard] in uniformly refusing accommodation.

   Col. Fin. Mgmt. Officer, 2022 WL 3643512, at *9.

         Both the allegations of Plaintiffs’ Complaint and the admissions of Defendants

   on the record show the appropriateness of Rule 23(b)(2) to the instant action. As

   Plaintiffs’ show, “[w]hile there have been many requests, Defendants have granted a

   grand total of 0 religious exemptions. The United States Coast Guard has received

   1,309 requests for religious exemption and has denied every request—all of which after

   a determination of sincerity.” (Doc. 198, ¶ 17.) Further, on July 25, 2022, the Coast

   Guard notified “all commands [that they] must initiate separation for all unvaccinated

   Coast Guard servicemembers by August 24, 2022.” (Doc. 198, ¶ 25.) And the Coast

   Guard concedes that it has finally denied the appeals of Coast Guard servicemembers

   in the Proposed Class. (Doc. 202 at 17.) Simply put, “[b]ecause in this action the wrong

   in the aggregate suggests strongly and includes a wrong in the particular, the class is

   especially suitable for certification under Rule 23(b)(2).” Col. Fin. Mgmt. Officer, 2022

   WL 3643512, at *10. The “wrong in the aggregate” demonstrates “the systemic

   deficiency under which the [Coast Guard’s] religious accommodation procedure

   apparently labors.” Id. That deficiency warrants certifying Plaintiffs’ Proposed Class.

         B.     Plaintiffs’ Common Questions of Law and Fact Predominate Over
                Questions Affecting Individual Coast Guard Servicemembers.

                1.     Common questions predominate.

         “To obtain Rule 23(b)(3) class certification, the issues in the class action that are

   subject to generalized proof and thus applicable to the class as a whole must


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   predominate over those issues that are subject only to individualized proof.” Palm

   Beach Golf Center-Boca, Inc. v. Sarris, 311 F.R.D. 688, 699 (S.D. Fla. 2015) (cleaned up)

   (quoting Babineau v. Fed. Ex. Corp., 576 F.3d 1183, 1191 (11th Cir. 2009)).

         The common issues among the class members (Doc. 198, ¶¶ 139–148) are

   subject to generalized proof under the First Amendment and the Religious Freedom

   Restoration Act, and predominate over any individual issues of class members. (Doc.

   198, ¶¶ 176–216). Resolution of the class claims principally requires an inquiry into

   whether the Coast Guard’s religious accommodation process is applied “to the

   person” or across the board, and whether the Coast Guard’s blanket denial of all

   religious accommodations is justified by a compelling interest served by the least

   restrictive means. See, e.g., Col. Fin. Mgmt. Officer, 2022 WL 3643512, at *10 (noting

   that Plaintiffs “contend persuasively (on the present record) that the denial of each of

   the thousands of requests for religious accommodation confirms that the [Coast

   Guard] is subject to a systemic deficiency manifesting the organized disregard of

   RFRA.”) Answering that inquiry requires Defendants to prove the Mandate satisfies

   strict scrutiny, which is not an individualized inquiry for any class member. Rather,

   the proof required of the Defendants necessarily applies to the class as a whole. Indeed,

   “[i]f the wrong of the defendant comes into focus only when one looks at the situation

   in the aggregate, then it would seem odd for the procedural mode of the litigation to

   take anything other than a commensurately aggregate form.” Id. (quoting Richard A.

   Nagareda, Class Certification in the Age of Aggregate Proof, 84 N.Y.U. L. Rev. 97, 124




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   (2009)). Thus, the common claims of the class will be resolved by generalized proof,

   and predominate over any individual claims.

                 2.     Class action relief is superior to individual adjudication.

          The superiority inquiry is focused on “the relative advantages of a class action

   suit over whatever other forms of litigation might be realistically available to the

   plaintiffs.” Sacred Heart Health Sys., Inc. v. Humana Military Healthcare Servs., Inc., 601

   F.3d 1159, 1183–84 (11th Cir. 2010). Where, as here, “Defendants’ conduct was

   essentially the same toward all class members . . . it would be highly inefficient for

   each plaintiff to have to prove the same facts.” Physicians Healthsource, 2014 WL

   7366255, at *9. And, “the predominance analysis has a tremendous impact” on Rule

   23(b)(3) analysis because “the more common issues predominate over individual

   issues, the more desirable a class action lawsuit will be as a vehicle for adjudicating

   the plaintiffs’ claims.” Sacred Heart, 601 F.3d at 1184.

          Here, there is no question that the certifying the Proposed Class is superior to

   adjudicating individual Coast Guard claims. The verified allegations of Coast Guard

   servicemembers in this action demonstrate the conduct of the Coast Guard is the same

   towards all class members. (See Doc. 198, ¶ 17 (“The United States Coast Guard has

   received 1,309 requests for religious exemption and has denied every request—all of

   which after a determination of sincerity.”); Doc. 198, ¶ 25 (noting that on July 25,

   2022, the Coast Guard notified “all commands [that they] must initiate separation for

   all unvaccinated Coast Guard servicemembers by August 24, 2022.”).) And, the Coast




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   Guard concedes that it has finally denied the appeals of Coast Guard servicemembers

   in the Proposed Class. (Doc. 202 at 17.) Thus,

          The specific issue that unifies the class is the organized, purposeful, and
          systemic failure to resolve the requests for a religious accommodation in
          accord with the burden imposed by RFRA. A favorable outcome on the
          “particular issue,” common among, and typical of, the class resolves not
          an ancillary or academic aspect of the class members’ claim against the
          [Coast Guard] but resolves a central issue—whether the [Coast Guard]
          has systematically failed to discharge the burden of proof and other
          requirements under RFRA.

   Col. Fin. Mgmt. Officer, 2022 WL 3643512, at *10. Class certification is unquestionably

   superior to individual adjudication of Plaintiffs’ and the Proposed Class members’

   claims.

   IV.    ALTERNATIVELY, THIS COURT SHOULD PROVISIONALLY
          CERTIFY THE CLASS FOR PURPOSES OF A PRELIMINARY
          INJUNCTION.

          Absent full certification of Plaintiffs’ Proposed Class, which is appropriate,

   Plaintiffs request provisional class certification for purposes of entering a classwide

   preliminary injunction to prohibit the Coast Guard from separating Plaintiffs and

   other Proposed Class members for refusing to accept COVID-19 vaccination in

   violation of their sincerely held religious beliefs.

          It is within the Court’s equity jurisdiction to certify a provisional class for

   purposes of Plaintiffs’ contemporaneously filed preliminary injunction motion, while

   deferring consideration of the larger certification question for a later time. Indeed,

   numerous courts have demonstrated or affirmed the ability of district courts to

   provisionally certify a class for purposes of providing preliminary injunctive relief. See,



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   e.g., Meyer v. Portfolio Recovery Assoc., LLC, 707 F.3d 1036, 1043 (9th Cir. 2012) (holding

   that district courts are permitted to certify a provisional class for purposes of a

   preliminary injunction); Thomas v. Johnston, 557 F. Supp. 8799, 916 n.29 (W.D. Tex.

   1983) (“It appears to be settled, however, that a district court may, in its discretion,

   award appropriate classwide injunctive relief prior to a formal ruling on the class

   certification issue based upon either a conditional certification of the class or its general

   equity powers.”). Indeed, “there is nothing improper about a preliminary injunction

   preceding a ruling on class certification.” Mays v. Dart, 453 F. Supp. 3d 1074, 1085

   (N.D. Ill. 2020) (cleaned up).

          Courts in the Eleventh Circuit, too, have granted provisional class certification

   in aid of preliminary relief. See, e.g., Tefel v. Reno, 972 F. Supp. 608, 617 (S.D. Fla.

   1997) (certifying provisional class where—as here—the plaintiffs sought to enjoin

   “constitutional violations” that resulted in irreparable injury); Harris v. Graddick, 593

   F. Supp. 128 (M.D. Ala. 1984) (certifying class at same time as issuing preliminary

   injunction); Keeler v. Hills, 73 F.R.D. 10 (N.D. Ga. 1976) (provisionally certifying

   class). Because of the irreparable harm Proposed Class members face, the Court

   should—at minimum—certify a provisional class for purposes of granting classwide

   preliminary injunctive relief, and until a final determination on class certification can

   be made by the Court.

                                        CONCLUSION

          Certifying Plaintiffs’ Proposed Class is warranted, and the Court should grant

   this motion. Indeed, “[t]he singular characteristics of the plaintiff class in this action,


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   the singular nature of the defendants in this action, the singular statute at issue in this

   action, the singular breadth of the statutory remedy prescribed, and the singular public

   interest” at issue in this case counsel in favor of classwide resolution of Plaintiffs’

   claims. See Col. Fin. Mgmt. Officer, 2022 WL 3643512, at *19. As was true of the Marine

   Corps plaintiffs, Plaintiffs’ Proposed Class “claims that the [Coast Guard] . . .

   systematically and uniformly denied and will deny imminently several thousand of, in

   fact, each and every one of, the applications for a RFRA accommodation from the

   COVID-19 vaccination requirement.” Id. Such a contention, which the Coast Guard

   readily admits is true in this action (Doc. 202 at 17), is capable of appropriate

   resolution only by class certification and classwide relief. Plaintiffs’ Motion should be

   granted and the Proposed Class certified.

                                      Respectfully submitted,

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